                 U.S. DISTRICT COURT for the EASTERN DISTRICT OF TENNESSEE at CHATTANOOGA


 ✔ Initial Appearance ____ Complaint
___                                                             ___ Preliminary Exam      ___ Motion Hearing
           ✔ Indictment ___ SSI ___ Information
         ___                                                    ___ Detention Hearing     ___ Bond Hearing
___ Petition for Probation/Supervised Release action             ✔ Arraignment
                                                                ___                       ___ Arraignment on SSI


        1:17-cr-79
Case No._____________________________       Jeremy L. Woods
                                      USA v.___________________________________________________________

                       Susan K. Lee
PRESENT: Honorable__________________________________________________                                 ✔
                                                                         ____U.S. District Judge OR ___U.S. Magistrate Judge
Perry Piper/Chris Poole
____________________________________
                                     Martin Lester
                                     ____________________________________
                                                                             Candace Lindsey
                                                                            ______________________________________
Assistant U.S. Attorney                     Attorney for Defendant                        Probation Officer
                                               ✔ Appt. ____ Retd ____ Ltd. App.
                                             ____
Ashley Spangler
____________________________________        ____________________________________         ______________________________________
Courtroom Deputy                            Court Reporter                                Interpreter(s)  ______ SWORN

                                               ✔
Digital Recording: Crtrm 1B________ OR Crtrm 4 ________

PROCEEDINGS: _____
                ✔ DEFENDANT(S) SWORN                                     DATES SET:

____   ✔ Financial affidavit(s) executed                                           Waived
                                                                Detention hearing: ________________________________
____   ✔ Court appointed attorney(s) under CJA
____     Court may require deft(s) repay govt cost of atty(s)   Preliminary exam:   ________________________________
____     Defendant(s) waived appointment of attorney(s)
____   ✔ Defendant(s) specifically advised of rights            Revocation hearing: ________________________________
____     Deft advised of Rules 20, 5 FRCrP
____     Deft executed waiver of Rule 5, 5.1 hearing            Arraignment:        ________________________________
____   ✔ Deft waived reading of indictment/information
____     Indictment/Information read                            OTHER:              ________________________________
____                                     1-2
       ✔ Deft pleads not guilty to counts_________________
____     Not guilty plea entered by Court on deft’s behalf
____     Deft. entered no plea


Court ordered file _____ sealed OR _____ unsealed

TESTIM ONY BY: __________________________________________________________________________________________

OTHER M ATTERS:


___________________________________________________________________________________________________________

___________________________________________________________________________________________________________

___________________________________________________________________________________________________________
BOND
____ ✔ Govt. motion for detention without bond: ___
                                                  ✔ granted ___ denied
____   Court ordered deft released on bond (see order setting conditions of release)

Amount:_____________________________                   Type: _________________________________

____     Defendant ineligible for release on bond:___________________________________________________________________

         ✔
Deft ______remanded to custody of U.S. Marshal ______remained in custody ______remained on bond ______ released on bond


     3:01
Time:_______________to 3:20
                       ________________
                                                                                        5/25/17
                                                                                  Date:_____________________________
                                                                                                                          rev 3/09

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